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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

 IMPLICIT, LLC,                                         Civil Action No. 2:18-cv-00053-JRG-RSP
                                                                      LEAD CASE
                 Plaintiff,
            v.                                                 JURY TRIAL DEMANDED

 NETSCOUT SYSTEMS, INC.,

                 Defendant.
 v.                                                     Civil Action No. 2:18-cv-00054-JRG-RSP
                                                                   CONSOLIDATED
 SANDVINE CORPORATION,

                 Defendant.



      UNOPPOSED MOTION TO WITHDRAW HOSIE RICE LLP AS ATTORNEYS OF
        RECORD FOR IMPLICIT, LLC, AND SUBSTITUTION OF LEAD COUNSEL
        Pursuant to Local Rule CV-11(c), Plaintiff Implicit, LLC (“Plaintiff” or “Implicit”) files

this unopposed motion to withdraw Spencer Hosie, Diane S. Rice, Brandon C. Martin, Darrell Rae

Atkinson, Francesca Miki Shima Germinario, and the firm Hosie Rice LLP (collectively, “Hosie

Rice”) as counsel of record for Implicit, and substitute William E. Davis of The Davis Firm, PC as

lead counsel for Implicit. Hosie Rice further requests that it be removed from the CM/ECF

noticing list, and any other service lists in the above-captioned cases.

        Implicit will continue to be represented in the above-captioned cases by William E. Davis,

Christian J. Hurt, Edward Chin, Debra Coleman, and Ty William Wilson of The Davis Firm, PC.

Plaintiff requests that William E. Davis of The Davis Firm, PC be substituted as lead counsel for

Implicit.

        Hosie Rice has conferred with counsel of record in this action, who do not oppose the relief

requested in this motion.

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       Therefore, Implicit respectfully requests that the Court withdraw Hosie Rice as counsel of

record from Case Nos. 2:18-cv-00053-JRG-RSP and 2:18-cv-00054-JRG-RSP, and substitute

William E. Davis of The Davis Firm, PC as lead counsel for Implicit in those matters.

 Dated: January 24, 2020                         Respectfully submitted,

                                                 By: /s/ Brandon C. Martin
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                                                   Counsel for Plaintiff Implicit, LLC




                               CERTIFICATE OF CONFERENCE

       Pursuant to Local Rules CV-7(h) and (i), I hereby certify that I conferred with counsel of

record on January 23, 2020, regarding the subject matter of this Motion. There was no opposition

to the above motion.

                                                       /s/ Brandon C. Martin
                                                       Brandon C. Martin


                                   CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document is being filed electronically in compliance

with Local Rule CV-5(a). As such, this document is being served on all counsel who are deemed to have

consented to electronic service. Local Rule CV-5(a)(3)(V) on this, the 24th day of January, 2020.

                                                       /s/ Brandon C. Martin
                                                       Brandon C. Martin




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